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Case 3:07-cv-05944-.]ST Document 4067 Filed 09/21/15 Page 1 of 2

IN THE UNITED STATES DIS'I`RICT COURT
FOR THE NORTHERN DISTRICT OF` CALIFORNIA

IN RE: CRT ANTITRUST LITIGATION MDL No. 1917
Case No. 3:07-cv-5944 SC

THIS ORDER RELATES TO ALL CASES

REQUEST AND ORDER FOR
EXEMPTION FROM PACER FEES

 

 

 

The Court has appointed the Honorable James Larson (Ret.) as Special Master in the
above-referenced case. Judge Larson is requesting a PACER fee waiver, which the undersigned
construes as a motion for exemption from the PACER fee. The standards established by the
Judicial Conference for granting such an exemption are to avoid unreasonable burdens and to
promote public access to such information Both standards must be met in order for the court to
grant an exemption from the PACER fee.

It would be unreasonable to burden Judge Larson with payment of this fee while he is
working under appointment by and on behalf of the Court. Because he is performing a public
function as a Special Master in this case, public access to information will be promoted if he has
fi'ee access to the entire docket in this case. Thus, the Court finds that both standards have been
met in this instance and grants exemption from PACER user fees. The exemption shall remain

in place as long as Judge Larson remains appointed as Special Master in the above-referenced

CBSC.

Dated: september (a& , 2015 guy :

Hon. J ames Larson (Ret.)
Special Master

REQUEST AND ORDER FOR EXEMPTION FROM PACER FEES

United States District Court

For the Northem District of Califomia

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Case 3:07-cv-05944-.]ST Document 4067 Filed 09/21/15 Page 2 of 2

The Court, having reviewed the request by the Honorable James
Larson (Ret.), finds that the requested exemption is proper as

requested. The request is GRANTED.

IT IS SO ORDERED. (§;;;;?V

Dated: September 21, 2015

 

/(” '
l NITED sTAT DISTRICT JUDGE

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